                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF IOWA
                            CEDAR RAPIDS DIVISION

 UNITED STATES OF AMERICA,
               Plaintiff,                                   CR 06-91 LRR
 vs.                                                           ORDER
 DANIEL RAYMOND ALLEN,
               Defendant.
                                ____________________


       The matter before the court is the request of defendant for early release from
supervision. Mr. Allen has completed approximately one-quarter of his term of supervised
release.
       Although Mr. Allen has made positive progress during his term of supervised
release, the court notes his criminal history includes an assault on a police officer among
other convictions.
       The court finds Mr. Allen should continue to be on supervised release for some
additional time. The United States Probation Office is requested to advise the court when
Mr. Allen would be appropriate for early release from supervision.
       IT IS SO ORDERED.
       DATED this 29th day of December, 2011.




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